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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 ARNOLD VARGAS,                                       Civil Action No. 1:20-cv-11633

                       Plaintiff,

        v.

 UPPERCUT DELUXE CO. INC.,

                       Defendant.



               NOTICE OF DISMISSAL PURSUANT TO RULE 41(a)(1)

       1.       Whereas Plaintiff Arnold Vargas filed the above-referenced case against

Defendant Uppercut Deluxe Co. Inc. on September 2, 2020.

       2.       Whereas Defendant has not yet answered or otherwise appeared in this

action, and thus dismissal is appropriate without court order, pursuant to F.R.C.P. Rule

41(a)(1)(A)(i).

       3.       Accordingly, pursuant to Federal Rule of Civil Procedure, Rule

41(a)(1)(A)(i), Plaintiff seeks dismissal of the complaint with prejudice.

Dated: November 25, 2020                       Respectfully Submitted,

                                               BLOCK & LEVITON LLP

                                              /s/ Jason M. Leviton
                                              Jason M. Leviton, Esq.
                                              jason@blockleviton.com
                                              260 Franklin Street, Suite 1860
                                              Boston, MA 02110
                                              Telephone: (617) 398-5600

                                              Attorneys for Plaintiff Arnold Vargas
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                            CERTIFICATE OF SERVICE

       I, Jason M. Leviton, hereby certify that the foregoing document was filed through

the ECF system and will be sent electronically to the registered participants as identified

on the Notice of Electronic Filing (NEF) and paper copies will be sent to non-registered

participants this 25th day of November, 2020.

                                                   /s/ Jason M. Leviton
                                                    Jason M. Leviton




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